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                            UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF NEVADA
                             CIVIL STANDING ORDER
                    U.S. MAGISTRATE JUDGE CRAIG S. DENNEY
I.      CONFORMITY WITH RULES
Parties shall follow the Federal Rules of Civil Procedure and the District of Nevada’s local
rules and general orders, except as superseded by this standing order. Failure to comply
with these rules and orders may be grounds for monetary sanctions, dismissal, entry of
judgment, or other appropriate sanctions.
II.     HEARINGS
        A.    Scheduling
Pursuant to Local Rule 78-1, motions may be considered with or without a hearing. A
party may request a hearing by following the procedure provided by the rule. If
Judge Denney orders a hearing, his courtroom deputy, Ashlyn Bye, will generally contact
the parties to schedule the hearing at a convenient time to all parties. The parties are
strongly encouraged to respond to such contacts as soon as possible in order allow the
hearing to be scheduled in a timely fashion. If the parties fail to respond to such
communications within 48 hours, the court will schedule the hearing at a time convenient
to the court.
        B.    Transcripts
All hearings, case management, status and pretrial conferences are audio recorded; court
reporters are usually not provided. Forms necessary to request a copy of either the audio
recording (on CD) or a transcription of the audio recording, or the court reporter’s
transcript, if applicable, are available on the District of Nevada’s website at:
https://www.nvd.uscourts.gov/court-information/forms/
III.    COURTESY COPIES
Paper courtesy copies are not to be submitted to Judge Denney’s Chambers unless
expressly requested.
IV.     CASE MANAGEMENT
        A.    Case Management Reports and Conferences
After an answer or other responsive document has been filed, Judge Denney will
generally enter an order requiring the parties to file an initial Joint Case Management
Report (“JCMR”). This order will detail the requirements for the JCMR. The parties are
required to meet and confer to draft the JCMR, as explained in the order, and must strictly
adhere to the requirements for the JCMR outlined in the order.



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After receipt of the JCMR, Judge Denney may set an initial case management
conference. If Judge Denney determines such a conference is necessary, an order setting
the case management conference will be issued. Lead counsel for each party must attend
the case management conference, as more fully described in the case management
conference order.
In some cases, Judge Denney may order subsequent case management conferences to
take place after the initial case management conference. If Judge Denney orders an
additional case management conference, each party must file a separate case
management conference report no later than 5 court days before the next case
management conference. The subsequent case management report must be no longer
than 10 type-written, double-spaced pages and must address the following three topics:
           1. What discovery has been completed since the last case management
              conference?

           2. What discovery has been served, but not yet responded to, since the last
              case management conference?

           3. A brief statement of any discovery issues which the parties have been
              unable to resolve through a meet and confer conference that have arisen,
              a brief description of the meet and confer efforts taken to resolve the issue,
              and the requested resolution of the issue by each party.
No exhibits should be attached to any subsequent case management report other than
the relevant excerpts of the discovery requests and responses, privilege logs, or
deposition testimony, which are the subject of a discovery issue outlined in the case
management report.
      B.      Amended Pleadings
If a party files a motion seeking leave to amend its pleading, the party must comply with
the requirements of Local Rule 15-1. In addition, the moving party must also concurrently
file a redlined or highlighted version comparing the amended pleading, attached as an
exhibit to the motion, to the prior operative pleading.
      C.      E-Filed Documents and Exhibits
In accordance with LR IC 2-2 and LR IA 10-1, counsel is directed to file all documents in
a searchable PDF format, except for exhibits or attachments that cannot be imaged in a
searchable format.
Moreover, pursuant to LR IC 2-2(a)(3), exhibits or attachments may not be filed as part
of the base document in CM/ECF. Rather, each exhibit must be attached as a separate
file.



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       D.     Motions to File Under Seal
Parties are reminded that court proceedings are presumptively public. Any request to file
a document under seal must comply with LR IA 10-5.
V.     DISCOVERY
       A.     Motions to Dismiss and Discovery
The filing of a motion to dismiss does not stay discovery. Rather, the parties are required
to comply with the rules of discovery as required by the Local Rules and the Federal Rules
of Civil Procedure. See LR 26-1 et. seq.; Fed. R. Civ. Pro. 26 et. seq. If a party believes
that discovery should be stayed pending a decision on the motion to dismiss, the party is
required to file a motion to stay that directly addresses the factors articulated in Kor Media
Group, LLC v. Green, 294 F.R.D. 579 (D. Nev. 2013) (citing Tradebay, LLC v. eBay, Inc.,
278 F.R.D. 597 (D. Nev. 2011)). Parties are advised that a stay of discovery will not be
granted merely because a motion to dismiss was filed. Rather, the moving party must
establish that a stay is proper under the circumstances.
       B.     Informal Discovery Dispute Procedure
Pursuant to LR 1-1(b)(2), the court requires the parties to follow the following informal
discovery dispute procedure. No discovery motion may be filed until this procedure has
been followed and such briefing is ordered by the court. Discovery disputes include any
dispute between the party related to the timing of discovery or extensions of time related
to the completion of any discovery item.
If a discovery dispute arises the parties must first meet and confer to try to resolve their
dispute in compliance with LR IA 1-3(f). Lead counsel for each party shall meet and
confer in person, videoconference, or telephone. A mere exchange of letters or e-mails
does not satisfy the meet and confer requirement.
If the parties are unable to resolve their dispute informally after a good-faith effort, the
parties must do the following:
First, the party seeking the requested discovery, or seeking to avoid the requested
discovery, must file a motion entitled “Motion Regarding Discovery Dispute.” This motion
is limited to 5 pages (12-point font or greater, margins of no less than one inch) in length.
No exhibits may be attached to the motion with two exceptions: (1) a declaration detailing
the meet and confer efforts undertaken to resolve the dispute; and (2) if the disagreement
concerns specific discovery that a party has propounded, such as interrogatories,
requests for production of documents, or answers or objections to such discovery, the
moving party must reproduce the question(s)/request(s) and the response(s) in full in a
single exhibit. The motion must contain the following issues in separate sections:
              1. A statement of the unresolved issue(s);



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              2. A summary of the moving party’s position (with citations to supporting
                 facts and legal authority); and

              3. The moving party’s requested compromise or resolution of the issue.
No later than 2 court days after the initial motion is filed, the opposing party shall file a
response to the motion. The response is also limited to 5 pages (12-point font or greater,
margins of no less than one inch) in length. No exhibits may be attached to the response
with two exceptions: (1) if the responding party disagrees with the information contained
in the moving party’s declaration related to the meet and confer efforts, the responding
party may file a declaration detailing the meet and confer efforts undertaken to resolve
the dispute; and (2) if the moving party failed to provide the discovery requests at issue,
or if the responding party disagrees with the discovery items provided by the moving party,
the responding party may provide a single exhibit providing the specific discovery
request(s) that are at issue. The response must contain the following issues in separate
sections:
              1. A statement of the unresolved issue(s);

              2. A summary of the moving party’s position (with citations to supporting
                 facts and legal authority); and

              3. The moving party’s requested compromise or resolution of the issue.
This process allows a side-by-side, stand-alone analysis of each disputed issue. Upon
receipt, the court will review the motion and response and determine whether formal
briefing or future proceedings are necessary.
       C.     Emergency Discovery Disputes
In emergencies during discovery events such as depositions, any party may, after
exhausting good faith attempts to resolve disputed issues, seek judicial intervention
pursuant to Civil Local Rule 37-1(b) by contacting Judge Denney through his courtroom
deputy, Ashlyn Bye, or by calling Judge Denney’s chambers directly. However, before
contacting the court, the parties must first send a short email describing the nature of the
dispute to: csd_chambers@nvd.uscourts.gov. If Judge Denney is unavailable, the
deposition shall proceed with objections noted for the record.
IT IS SO ORDERED.


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                                          CRAIG S. DENNEY
                                          UNITED STATES MAGISTRATE JUDGE



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